Case:Case
      4:18-cr-00289-JAR-SPM
          4:18-mj-00613 Document
                            Doc. 1#: Filed
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                                                                       1 of 3 #: 6

                                                                                           FILED
                            UNITED STATES DISTRICT COURT                                APR - 4 2018
                            EASTERN DISTRICT OF MISSOURI                              V. S. DISTRICT COURT .
                                                                                    EASTERN DISTRICT OF MO
                                  EASTERN DIVISION                                           ST. LOUIS


UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )
                                                      )
                                                      )
                                                             4:18CR00289 JAR/SPM
v.                                                    )
                                                      )     No.
KYLE G. MARTIN and                                    )               4:18mj0613
AUSTIN V. BENSON,                                     )               United States Courts
                                                      )             Southern District of Texas
                                                      )                      FILED
                      Defendants.                     )
                                                                          April 13, 2018
                                                                                  
                                         INDICTMENT               David J. Bradley, Clerk of Court

                                            COUNT I

The Grand Jury charges that:

       On or about February 6, 2017, within the Eastern District of Missouri,

                       KYLE G. MARTIN and AUSTIN V. BENSON,

the defendants herein, did knowingly and iritentionally combine, conspire, confederate, and agree

together with one or more other persons known and unknown to the Grand Jury to commit the

following offenses against the United States: (a) to distribute a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 846.

       The quantity of methamphetamine involved in the conspiracy attributable to each

defendant as a result of his own conduct, and the conduct of other conspirators reasonably
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foreseeable to him, is 500 grams or more, punishable under Title 21, United States Code, Section

841 (b)(1 )(A)(viii).


                                                           A TRUE BILL.




                                                           FOREPERSON


JEFFREY B. JENSEN
United States Attorney



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St. Louis, MO 63101
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